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1    Dustin D. Johnson (SBN: 234008)
     Two Rivers Law, P.C.
2    2701 Del Paso Road, Suite 130-155
     Sacramento, CA 95835
3    Phone: (877) 377-8070
     Fax: (916) 244-9889
4
     Counsel for AMY HER
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7
                                 UNITED STATES DISTRICT COURT
8
                          FOR THE EASTERN DISTRICT OF CALIFORNIA
9

10    THE UNITED STATES OF AMERICA,                        Case No.: 2:15-CR-115 TLN

11                Plaintiff,                               STIPULATION    AND ORDER TO
                                                           MODIFY SPECIAL CONDITION OF
12         vs.                                             SUPERVISION # 3.

13    AMY HER

14                Defendant.

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16

17          IT IS HEREBY STIPULATED by and between the parties hereto through their respective

18   counsel, Matthew Yelovich, Assistant United States Attorney, and Dustin D. Johnson, Counsel for

19   AMY HER, that defendant’s special condition of probation #3 (Judgment, Doc. #249, page 5)

20   be modified to exclude portions of any tax refunds that are due to the Child Tax Credit or the

21   Earned Income Tax Credit.

22          Special Condition #3 currently says:

23          3. The defendant shall apply all monies received from income tax refunds, lottery

24               winnings, inheritance, judgments and any anticipated or unexpected financial gains to

25               any unpaid restitution ordered by this Judgment.

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      Case 2:15-cr-00115-TLN Document 269 Filed 01/25/19 Page 2 of 3


1           Modified Special Condition #3 to read:

2           3. The defendant shall apply all monies received from income tax refunds (excluding any

3               portion of a refund due to the earned income tax credit and/or the child tax credit),

4               lottery winnings, inheritance, judgments and any anticipated or unexpected financial

5               gains to any unpaid restitution ordered by this Judgment.

6           Ms. Her’s income is modest and she is the sole provider for her four children. The Child

7    Tax Credit (CTC) and the Earned Income Tax Credits (EITC) are targeted at low- and moderate

8    income taxpayers, particularly those with children. Any money that Ms. Her keeps that is from the

9    CTC or EIC will be solely used for the support and benefit of her children.

10          The prosecutor has authorized defense counsel to sign this stipulation on his behalf.

11

12   IT IS SO STIPULATED.

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14          Special Condition #3 shall be modified to:

15          3. The defendant shall apply all monies received from income tax refunds (excluding any

16              portion of a refund due to the earned income tax credit and/or the child tax credit),

17              lottery winnings, inheritance, judgments and any anticipated or unexpected financial

18              gains to any unpaid restitution ordered by this Judgment.

19

20   Dated: January 23, 2019                      Respectfully submitted,

21

22                                                /s/ Dustin D. Johnson
                                                  Dustin D. Johnson
23                                                Counsel for Amy Her
24
     Dated: January 23, 2019                      McGregor Scott
25                                                United States Attorney
26
                                                  /s/ Matthew M. Yelovich (approved via email)
27                                                MATTHEW M. YELOVICH
                                                  Assistant U.S. Attorney
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     Case 2:15-cr-00115-TLN Document 269 Filed 01/25/19 Page 3 of 3


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2                                         ORDER
3        IT IS SO ORDERED this 24th day of January, 2019.
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7                                             Troy L. Nunley
                                              United States District Judge
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